                                                              United States Bankruptcy Court
                                                              Western District of New York
In re:                                                                                                                 Case No. 20-11364-MJK
Amanda Ruth Slade                                                                                                      Chapter 13
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0209-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Oct 28, 2020                                               Form ID: cmo13                                                             Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 30, 2020:
Recip ID                 Recipient Name and Address
db                    #+ Amanda Ruth Slade, 3 North Main Street, Holley, NY 14470-1009

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 30, 2020                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 27, 2020 at the address(es) listed
below:
Name                               Email Address
Julie Philippi
                                   ecf@buffalo13.com jphilippi13@ecf.epiqsystems.com

Russell Warren Dombrow
                                   on behalf of Debtor Amanda Ruth Slade DombrowLawFirm@gmail.com


TOTAL: 2




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                             Description: Imaged Certificate of Notice, Page 1 of 3
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                            Case No.: 1−20−11364−MJK
                                                                  Chapter: 13
         Amanda Ruth Slade, Amanda R. Slade
          aka Amanda Ruth Slade                                   SSN: xxx−xx−3006

                          Debtor(s)


                             CHAPTER 13 CASE MANAGEMENT ORDER
                                         − BUFFALO −

    The Plan must be on "Official Form 113" − a non−conforming Plan will not be considered for confirmation. If
you have not already used that Form, you must file an "Amended Plan" using Form 113.
    All proposed Chapter 13 Plans should also conform to the following requirements and any Chapter 13 Plan that
does not conform to these requirements will generally not be confirmed:

         1. Section 2.31 − The Plan will not be confirmed if the second box in this section is checked.
         2. Section 3.1 − WDNY is not a "conduit mortgage" district. Consequently, the inclusion of
            post−petition mortgage payments to be paid by or through the Trustee generally is prohibited. This
            section must provide that all post−petition mortgage payments are to be made by the Debtor
            directly to the mortgagee or its servicer, unless the Trustee agrees otherwise.
         3. Section 3.2 − Except as indicated hereafter, all requests to determine the value of a secured claim
            must be brought by stand−alone motion under 11 U.S.C. § 506. Motions under § 506 must be filed
            and served in the manner provided for in Rule 7004 FRBP, and a certificate of service must be
            promptly filed. [Note: A stand−alone motion is not required if the value of a secured claim is fixed
            at the Meeting of Creditors at a value equal to or greater than the valuation set forth in the Plan or
            is negotiated by the Debtor and the affected creditor at the Section 341 Meeting of Creditors, and
            such valuation is made a part of the record at the confirmation hearing or by stipulation filed on the
            docket.]
         4. Section 3.4 − If a lien is to be avoided, a stand−alone motion must be brought under 11 U.S.C. §
            506 or 522(f). Motions under § 522(f) must be filed and served in the manner provided for in Rule
            7004 FRBP, and a certificate of service must be promptly filed. Lien avoidance under any other
            provision of the Bankruptcy Code must be sought by adversary proceeding, as required by Rule
            7001(2) FRBP.
         5. Sections 3.3 and 4.2 − It is appropriate to use "TBD," or "Unknown" if the amounts are unknown.
         6. Section 5.1 − The plan must be a fixed percentage plan, not a fixed payment plan, unless the
            Trustee recommends otherwise.
________________________________
1All section references are to the corresponding section of the Model Chapter 13 Plan.


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                                Bankruptcy Case No.: 1−20−11364−MJK


       7. Section 7.1 − This section must be completed so that it provides that Property of the Estate will
          vest in the Debtor upon plan confirmation.
       8. Whenever the Court has not served the plan, the Debtor must serve a copy of the original Chapter
          13 Plan on all creditors, the Chapter 13 Trustee, and other parties in interest, and the Debtor must
          file proof of service of the Chapter 13 Plan, specifying the date, manner of service, and the names
          and addresses of all parties upon whom the Plan was served.

    To the extent that the contents of a Chapter 13 Plan contradict the "Chapter 13 Plan Confirmation Order," the
provisions of the "Chapter 13 Plan Confirmation Order" supersede the terms of the Chapter 13 Plan.
     ANY relief sought by the Debtor that is contrary to the provisions of the Case Management Order issued in a
particular case must be brought in the appropriate manner, under the Federal Rules of Bankruptcy Procedure,
accompanied by proof of service on any affected party in the manner required by Rule 7004 FRBP.


Dated: October 27, 2020                                                 /s/
                                                      HONORABLE MICHAEL J. KAPLAN
                                                      United States Bankruptcy Court
Form cmo13/Doc 5
www.nywb.uscourts.gov




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